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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISANA

In Re: Oil Spill by the Oil Rig          *           MDL NO. 2179
       “Deepwater Horizon” in the        *
       Gulf of Mexico, on April 20, 2010 *           SECTION: J
                                         *
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                                         *
       This Document Relates To:         *           JUDGE BARBIER
       Case No. 2:10-cv-08888-CJB-SS *
                                         *           MAGISTRATE JUDGE SHUSHAN
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                                            ORDER

In consideration of the Movants’ Motion to Withdraw as Counsel:

   IT IS ORDERED that J. Parker Miller and the law firm of Beasley Allen, Crow, Methvin,

Portis & Miles, P.C., be permitted to withdraw as Counsel of record for the following Plaintiffs:

               Wayne Hartung                                        Melton Edwards
               Shannon R Smith                                      Caroline Caleb
               Wilbur Forehand                                      Clifton Grove
               Robert Dale                                          Chandler S. Green
               Robert L. Burgess                                    Charles Caleb
               Patrick Kenny                                        Darrell Jones
               Nancy R. Blackmon                                    Elizabeth Kenny
               Michael Kirksey                                      Henry Lee Davis
               Manuel Heidelberg                                    Joseph Helm
               Leonard Busby                                        Lorraine Krohn
               Robyn Hill
       This the _______ day of _______________, 2012.

                                                     ____________________________________
                                                     UNITED STATES DISTRICT JUDGE
